






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00448-CV






In re Charles Boothe






ORIGINAL PROCEEDING FROM TRAVIS COUNTY




		M E M O R A N D U M   O P I N I O N



		Charles Boothe alleged in his petition for writ of mandamus that the district attorney
was refusing to do her duty to see that justice is done and to not suppress exculpatory evidence,
and&nbsp;that the trial court was failing to perform duties related to hearing and deciding writs of
habeas&nbsp;corpus.  According to the State's response, after Boothe filed this petition, he pleaded guilty,
was sentenced to 90 days in jail, was credited for 90 days served in jail, and released from custody. 
We dismiss this petition for writ of mandamus as moot.



						                                                                                    

						G. Alan Waldrop, Justice

Chief Justice Jones, Justices Waldrop and Henson

Filed:   September 30, 2009

									


